 

 

 

US. DISTGBEOUAO.Cr- bos3-P DesUPSAY Alet1d/3d/fol Page 1 of | |POEBRLO

NORTHERN DISTRICT OF

  

 

 

 

 

OCT 3 9 ale IN THE UNITED STATES DISTRICT COURT *

 

CLERK, OS DeRICT court FOR THE NORTHERN DISTRICT OF TEXAS

By.

- FORT WORTH DIVISION I$ OCT 28 PM 3 33

Deputy

UNITED STATES OF AMERICA

v. No. 4:19-MJ- x ¢ 7

CHARITY CANTU (01)

WARRANT FOR ARREST

TO: The United States Marshal and
Any Authorized Officer of the United States

YOU ARE HEREBY COMMANDED to arrest CHARITY CANTU, and bring
her forthwith to the nearest available magistrate to answer a Complaint charging her with
Sex Trafficking of Children, a violation of Title 18, United States Code, Section

 

. he
Issued/at Fort Worth, Texas on this 2+ ~ day of October, 2019.

 

RETURN

This warrant was received and executed with the arrest of the above-named
defendant at

 

 

DATE |e) NAME AND TITLE OF SIGNATURE OF
3 4 ARRESTING OFFICER: | ARRESTING OFFICER
>|

 

 

 

DATE OF MicsAcec §$ 7ECIAL
a PA) cps esd Acer) aa

BHIFIIZT

 

 

 
